                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION – FLINT

 In re:

 PALMER, BARBARA F.,                                             CHAPTER 7
                                                                 CASE NO. 12-33124
                                                                 HON. DANIEL S. OPPERMAN

                         Debtor.                 /

TRUSTEE’S EX PARTE MOTION TO REOPEN CASE PURSUANT TO 11 U.S.C. §350(b)

           Collene K. Corcoran, the Chapter 7 Trustee, requests this Honorable Court to enter

 an order to Reopen Case pursuant to 11 U.S.C. §350(b) because the Trustee just received

 information that the debtor, Barbara Palmer, has a personal injury claim which arose pre-

 petition, and that claim is property of the estate. The claim was not listed or exempted by the

 debtor.

           The initial case was filed July 30, 2012, and the first meeting of creditors was

 scheduled and held on August 27, 2012. There were no disclosed assets and the case was

 closed on November 1, 2012. The Trustee was just notified of this settlement of the undisclosed

 claim for the Debtor, due to a surgical implant that occurred in 2009.

           The Trustee would like to reopen this case to pursue and collect this settlement on

 behalf of the estate and the debtor’s creditors.      In support of this Motion, the Trustee states

 as follows:

     1.        The debtor filed a Chapter 7 petition on July 30, 2012.

     2.        Collene K. Corcoran was appointed the Chapter 7 Trustee.

     3.         Because there was nothing disclosed on                   the schedules regarding this

               claim, the Trustee filed a no asset case report on August 27, 2012.




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     4.       On November 1, 2012, the final decree was entered, and the Court closed the

              bankruptcy case.

     5.       Upon information and belief, the Trustee was just informed by Debtor’s counsel that

              the debtor is entitled to a settlement on a personal injury claim which claim arose pre-

              petition.

     6.       This claim was not originally listed by the Debtor on her Schedules, and the

              Debtor did not amend her schedules to reveal this claim at any time prior to the

              closing of the case. The Debtor did not re-open this case to disclose this claim.

     7.       The Trustee requests that this Court reopen the case to allow the Trustee to

              investigate this asset and to administer this asset for the benefit of the creditors.

     8.       The Trustee requests that the fee to reopen this case is deferred and only paid by the

              Chapter 7 Trustee if there are assets in this case sufficient to pay the Court’s fee.



          WHEREFORE, Collene K. Corcoran, the Chapter 7 Trustee, requests that this Court enter

an Order to Reopen the Case and requests that the filing fee for the reopening of the case be deferred.

                                                          Respectfully submitted,

Dated: January 20, 2017                                   /s/ Collene K. Corcoran
                                                          Collene K. Corcoran
                                                          Chapter 7 Trustee
                                                          PO Box 535
                                                          Oxford, MI 48371
                                                          (248) 969-9300
                                                          trusteecorcoran@gmail.com




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In re:

PALMER, BARBARA F.,                                               CHAPTER 7
                                                                  CASE NO. 12-33124
                                                                  HON. DANIEL S. OPPERMAN

                         Debtor.                  /

           ORDER GRANTING TRUSTEE’S EX PARTE MOTION TO REOPEN CASE

        This matter having come before the Court on the Trustee’s Ex Parte Motion to Reopen Case,
and the Court being fully advised;


         IT IS ORDERED that this case, Case No. 12-33124, is re-opened.

         IT IS FURTHER ORDERED that the filing fee for reopening the case is deferred, and only
         paid by the Chapter 7 Trustee if there are assets in this case sufficient to pay the Court’s fee.

         IT IS FURTHER ORDERED that the US Trustee’s Office shall appoint a Chapter 7
         Trustee to administer this case.




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